     Case 1:25-cv-00074-CRC   Document 27    Filed 07/01/25     Page 1 of 19


                                                               APPEAL,CLOSED,TYPE−C
                              U.S. District Court
                   District of Columbia (Washington, DC)
             CIVIL DOCKET FOR CASE #: 1:25−cv−00074−CRC
                               Internal Use Only

ALIGNMENT HEALTHCARE INC. v. U.S. DEPARTMENT      Date Filed: 01/10/2025
OF HEALTH AND HUMAN SERVICES et al                Date Terminated: 06/17/2025
Assigned to: Judge Christopher R. Cooper          Jury Demand: None
Cause: 05:702 Administrative Procedure Act        Nature of Suit: 151 Contract: Recovery
                                                  Medicare
                                                  Jurisdiction: U.S. Government Defendant
Plaintiff
ALIGNMENT HEALTHCARE INC.            represented by Michael Branch Kimberly
                                                    WINSTON & STRAWN LLP
                                                    1901 L Street NW
                                                    Washington, DC 20036
                                                    202−282−5096
                                                    Email: mkimberly@winston.com
                                                    ATTORNEY TO BE NOTICED


V.
Defendant
U.S. DEPARTMENT OF HEALTH            represented by John Bardo
AND HUMAN SERVICES                                  DOJ−USAO
                                                    601 D Street NW
                                                    Washington, DC 20530
                                                    (202) 870−6770
                                                    Email: john.bardo@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   M. Jared Littman
                                                   DOJ
                                                   CIVIL, FEDERAL PROGRAMS
                                                   1100 L Street NW
                                                   Washington, DC 20005
                                                   202−514−5578
                                                   Email: jared.littman2@usdoj.gov
                                                   TERMINATED: 06/13/2025
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Kara Wilcox Mundy
                                                   U.S. DEPARTMENT OF HEALTH &
                                                   HUMAN SERVICES
                                                   Office of the General Counsel, CMS


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     Case 1:25-cv-00074-CRC                Document 27   Filed 07/01/25    Page 2 of 19


                                                              Division
                                                              330 Independence Avenue S.W.
                                                              Suite 5300
                                                              Washington, DC 20201
                                                              202−205−8974
                                                              Email: kara.mundy@hhs.gov
                                                              TERMINATED: 06/13/2025
                                                              ATTORNEY TO BE NOTICED

Defendant
CENTERS FOR MEDICARE &                            represented by John Bardo
MEDICAID SERVICES                                                (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              M. Jared Littman
                                                              (See above for address)
                                                              TERMINATED: 06/13/2025
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Kara Wilcox Mundy
                                                              (See above for address)
                                                              TERMINATED: 06/13/2025
                                                              ATTORNEY TO BE NOTICED

Defendant
XAVIER BECERRA                                    represented by John Bardo
in his official capacity as Secretary of                         (See above for address)
Health and Human Services                                        LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              M. Jared Littman
                                                              (See above for address)
                                                              TERMINATED: 06/13/2025
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Kara Wilcox Mundy
                                                              (See above for address)
                                                              TERMINATED: 06/13/2025
                                                              ATTORNEY TO BE NOTICED

Defendant
CHIQUITA BROOKS−LASURE                            represented by John Bardo
in her official capacity as Administrator                        (See above for address)
of the Centers for Medicare and Medicaid                         LEAD ATTORNEY
Services                                                         ATTORNEY TO BE NOTICED

                                                              M. Jared Littman
                                                              (See above for address)

                                                                                             2
   Case 1:25-cv-00074-CRC          Document 27       Filed 07/01/25      Page 3 of 19


                                                            TERMINATED: 06/13/2025
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Kara Wilcox Mundy
                                                            (See above for address)
                                                            TERMINATED: 06/13/2025
                                                            ATTORNEY TO BE NOTICED


Date Filed   #   Docket Text
01/10/2025   1   COMPLAINT against XAVIER BECERRA, CHIQUITA BROOKS−LASURE,
                 CENTERS FOR MEDICARE & MEDICAID SERVICES, U.S. DEPARTMENT OF
                 HEALTH AND HUMAN SERVICES ( Filing fee $ 405 receipt number
                 BDCDC−11400138) filed by ALIGNMENT HEALTHCARE INC.. (Attachments: # 1
                 Civil Cover Sheet, # 2 Summons U.S. DEPARTMENT OF HEALTH AND HUMAN
                 SERVICES, # 3 Summons CENTERS FOR MEDICARE & MEDICAID SERVICES,
                 # 4 Summons XAVIER BECERRA, # 5 Summons CHIQUITA BROOKS−LASURE,
                 # 6 Summons U.S. ATTORNEY FOR DISTRICT OF COLUMBIA, # 7 Summons
                 ATTORNEY GENERAL FOR THE UNITED STATES)(Kimberly, Michael)
                 (Entered: 01/10/2025)
01/10/2025   2   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                 Interests by ALIGNMENT HEALTHCARE INC. (Kimberly, Michael) (Entered:
                 01/10/2025)
01/13/2025       Case Assigned to Judge Christopher R. Cooper. (zmtm) (Entered: 01/13/2025)
01/13/2025   3   SUMMONS (6) Issued Electronically as to All Defendants, U.S. Attorney and U.S.
                 Attorney General (Attachments: # 1 Notice and Consent)(zmtm) (Entered: 01/13/2025)
01/27/2025   4   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                 United States Attorney. Date of Service Upon United States Attorney on 1/22/2025.
                 Answer due for ALL FEDERAL DEFENDANTS by 3/23/2025. (Kimberly, Michael)
                 (Entered: 01/27/2025)
03/12/2025   5   NOTICE of Appearance by M. Jared Littman on behalf of U.S. DEPARTMENT OF
                 HEALTH AND HUMAN SERVICES, CENTERS FOR MEDICARE & MEDICAID
                 SERVICES, XAVIER BECERRA, CHIQUITA BROOKS−LASURE (Littman, M.)
                 (Entered: 03/12/2025)
03/20/2025   6   Joint MOTION for Briefing Schedule by U.S. DEPARTMENT OF HEALTH AND
                 HUMAN SERVICES, CENTERS FOR MEDICARE & MEDICAID SERVICES,
                 XAVIER BECERRA, CHIQUITA BROOKS−LASURE. (Littman, M.) (Entered:
                 03/20/2025)
03/20/2025   7   ADMINISTRATIVE RECORD − Certification and Index by U.S. DEPARTMENT
                 OF HEALTH AND HUMAN SERVICES, CENTERS FOR MEDICARE &
                 MEDICAID SERVICES, XAVIER BECERRA, CHIQUITA BROOKS−LASURE.
                 (Littman, M.) (Entered: 03/20/2025)
03/20/2025   8   ADMINISTRATIVE RECORD Rulemaking − Certification and Index by U.S.
                 DEPARTMENT OF HEALTH AND HUMAN SERVICES, CENTERS FOR
                 MEDICARE & MEDICAID SERVICES, XAVIER BECERRA, CHIQUITA


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   Case 1:25-cv-00074-CRC            Document 27         Filed 07/01/25        Page 4 of 19



                  BROOKS−LASURE. (Littman, M.) (Entered: 03/20/2025)
03/20/2025   9    Joint MOTION for Protective Order by U.S. DEPARTMENT OF HEALTH AND
                  HUMAN SERVICES, CENTERS FOR MEDICARE & MEDICAID SERVICES,
                  XAVIER BECERRA, CHIQUITA BROOKS−LASURE. (Attachments: # 1 Text of
                  Proposed Order [Proposed] Stipulated Protective Order)(Littman, M.) (Entered:
                  03/20/2025)
03/21/2025        MINUTE ORDER granting 6 Motion for Briefing Schedule. Defendant's deadline to
                  answer the Complaint is stayed pending resolution of the parties' summary judgment
                  motions. Plaintiff shall file a motion for summary judgment by April 7, 2025.
                  Defendants shall file a combined cross−motion for summary judgment and opposition
                  to Plaintiff's motion by April 28, 2025. Plaintiff shall file a reply by May 5, 2025.
                  Defendants shall file a reply by May 12, 2025. The parties shall file a joint appendix by
                  May 14, 2025. Finally, while the Court will endeavor to issue a ruling expeditiously, it
                  cannot guarantee a decision by a date certain. Signed by Judge Christopher R. Cooper
                  on 3/21/25. (lccrc3) (Entered: 03/21/2025)
03/24/2025   10   ORDER granting 9 Motion for Protective Order. The parties shall abide by the attached
                  protective order. Signed by Judge Christopher R. Cooper on 3/24/2025. (lccrc3)
                  Modified on 3/24/2025 (lsj). (Entered: 03/24/2025)
04/07/2025   11   MOTION for Summary Judgment by ALIGNMENT HEALTHCARE INC..
                  (Attachments: # 1 Memorandum in Support, # 2 Text of Proposed Order)(Kimberly,
                  Michael) (Entered: 04/07/2025)
04/28/2025   12   Memorandum in opposition to re 11 MOTION for Summary Judgment filed by
                  XAVIER BECERRA, CHIQUITA BROOKS−LASURE, CENTERS FOR
                  MEDICARE & MEDICAID SERVICES, U.S. DEPARTMENT OF HEALTH AND
                  HUMAN SERVICES. (Littman, M.) (Entered: 04/28/2025)
04/28/2025   13   Cross MOTION for Summary Judgment by XAVIER BECERRA, CHIQUITA
                  BROOKS−LASURE, CENTERS FOR MEDICARE & MEDICAID SERVICES, U.S.
                  DEPARTMENT OF HEALTH AND HUMAN SERVICES. (Littman, M.) (Entered:
                  04/28/2025)
05/05/2025   14   RESPONSE re 13 Cross MOTION for Summary Judgment filed by ALIGNMENT
                  HEALTHCARE INC.. (Attachments: # 1 Text of Proposed Order)(Kimberly, Michael)
                  (Entered: 05/05/2025)
05/05/2025   15   REPLY to opposition to motion re 11 Motion for Summary Judgment filed by
                  ALIGNMENT HEALTHCARE INC.. (Attachments: # 1 Text of Proposed
                  Order)(Kimberly, Michael) (Entered: 05/05/2025)
05/12/2025   16   REPLY to opposition to motion re 13 Motion for Summary Judgment filed by
                  XAVIER BECERRA, CHIQUITA BROOKS−LASURE, CENTERS FOR
                  MEDICARE & MEDICAID SERVICES, U.S. DEPARTMENT OF HEALTH AND
                  HUMAN SERVICES. (Littman, M.) (Entered: 05/12/2025)
05/14/2025   17   JOINT APPENDIX by ALIGNMENT HEALTHCARE INC.. (Attachments: # 1
                  Appendix)(Kimberly, Michael) (Entered: 05/14/2025)
05/23/2025   18   MOTION for Hearing by ALIGNMENT HEALTHCARE INC.. (Kimberly, Michael).
                  Added MOTION to Expedite on 5/27/2025 (mg). Modified relief on 5/27/2025 (mg).
                  (Entered: 05/23/2025)


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   Case 1:25-cv-00074-CRC           Document 27        Filed 07/01/25       Page 5 of 19



05/27/2025        MINUTE ORDER granting 18 Motion for Hearing. The parties shall appear for a
                  hearing on the cross−motions for summary judgment on June 3, 2025, at 2:00 p.m. in
                  Courtroom 27A (In Person) before Judge Christopher R. Cooper. Signed by Judge
                  Christopher R. Cooper on 5/27/25. (lccrc3) (Entered: 05/27/2025)
05/27/2025   19   NOTICE of Appearance by Kara Wilcox Mundy on behalf of All Defendants (Mundy,
                  Kara) (Entered: 05/27/2025)
05/27/2025        MINUTE ORDER: In light of the parties' scheduling conflict, the Court VACATES the
                  previously scheduled hearing. The parties shall appear for a hearing on the
                  cross−motions for summary judgment on June 3, 2025 at 11:00 a.m. in Courtroom 27A
                  (In Person) before Judge Christopher R. Cooper.. Signed by Judge Christopher R.
                  Cooper on 5/27/25. (lccrc3) (Entered: 05/27/2025)
05/29/2025        MINUTE ORDER: 17 The Parties' Joint Appendix is not in order by Bates number.
                  For example, AR 1 appears on page 176 of the Joint Appendix. Nor have the parties
                  provided an index correlating Joint Appendix page numbers with Bates numbers. The
                  parties shall, by 12:00 p.m. on May 30, 2025, re−file their Joint Appendix with the
                  pages in order according to their Bates numbers. Signed by Judge Christopher R.
                  Cooper on 5/29/25. (lccrc3) (Entered: 05/29/2025)
05/30/2025   20   ERRATA by ALIGNMENT HEALTHCARE INC. re 17 Joint Appendix .
                  (Attachments: # 1 Corrected Joint Appendix)(Kimberly, Michael) Modified event on
                  6/2/2025 (mg). (Entered: 05/30/2025)
06/03/2025        Minute Entry for Motion Hearing held on 6/3/2025 before Judge Christopher R.
                  Cooper. Oral arguments submitted on Plaintiff's Motion 11 for Summary Judgment and
                  Defendant's Cross Motion 13 for Summary Judgment. Court takes matters under
                  advisement. Order forthcoming. Court Reporter: Lisa Moreira. (zljn) (Entered:
                  06/03/2025)
06/09/2025   22   ORDER granting in part and denying in part 11 and 13 Cross−Motions for Summary
                  Judgment. See full Order and the accompanying Opinion for details. Signed by Judge
                  Christopher R. Cooper on 6/9/25. (lccrc3) (zlsj). Modified to include Order on
                  6/10/2025 (lsj). (Entered: 06/09/2025)
06/09/2025   21   OPINION re: Order Granting in Part and Denying in Part 11 and 13 Cross Motions for
                  Summary Judgment. Signed by Judge Christopher R. Cooper on 6/9/25. (lccrc3)
                  (Entered: 06/09/2025)
06/13/2025   23   NOTICE OF WITHDRAWAL OF APPEARANCE as to XAVIER BECERRA,
                  CHIQUITA BROOKS−LASURE, CENTERS FOR MEDICARE & MEDICAID
                  SERVICES, U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES.
                  Attorney Kara Wilcox Mundy terminated. (Mundy, Kara) (Entered: 06/13/2025)
06/13/2025   24   NOTICE OF SUBSTITUTION OF COUNSEL by John Bardo on behalf of XAVIER
                  BECERRA, CHIQUITA BROOKS−LASURE, CENTERS FOR MEDICARE &
                  MEDICAID SERVICES, U.S. DEPARTMENT OF HEALTH AND HUMAN
                  SERVICES Substituting for attorney M. Jared Littman (Bardo, John) (Entered:
                  06/13/2025)
06/30/2025   25   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 22 Order,, Terminate Motions,
                  by ALIGNMENT HEALTHCARE INC.. Filing fee $ 605, receipt number
                  ADCDC−11787034. Fee Status: Fee Paid. Parties have been notified. (Kimberly,
                  Michael) (Entered: 06/30/2025)


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   Case 1:25-cv-00074-CRC             Document 27          Filed 07/01/25        Page 6 of 19



06/30/2025   26   TRANSCRIPT OF MOTION HEARING before Judge Christopher R. Cooper held on
                  June 3, 2025; Page Numbers: 1−78. Date of Issuance:June 30, 2025. Court
                  Reporter/Transcriber Lisa A. Moreira, RDR, CRR, Telephone number (202)
                  354−3187, Transcripts may be ordered by submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 7/21/2025. Redacted Transcript Deadline set for 7/31/2025.
                  Release of Transcript Restriction set for 9/28/2025.(Moreira, Lisa) (Entered:
                  06/30/2025)




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       Case 1:25-cv-00074-CRC           Document 27        Filed 07/01/25       Page 7 of 19




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA




 ALIGNMENT HEALTHCARE, INC.,
        Plaintiff,
                                                     Case No. 1:25-cv-00074-CRC
 vs.

 U.S. DEPARTMENT OF HEALTH AND HUMAN
 SERVICES, et al.,
        Defendants.



                                        NOTICE OF APPEAL

       Notice is hereby given that plaintiff Alignment Healthcare, Inc., appeals to the United

States Court of Appeals for the District of Columbia Circuit from the June 9, 2025, final order (Dkt.

22) granting in part and denying in part plaintiff’s motion for summary judgment (Dkt. 11) and

granting in part and denying in part defendants’ cross-motion for summary judgment (Dkt. 13),

together with all underlying or related orders, rulings, and findings that merge therein.

Dated: June 30, 2025                                  Respectfully submitted,

                                                      /s/ Michael B. Kimberly
                                                      Michael B. Kimberly (D.C. No. 991549)
                                                        Winston & Strawn LLP
                                                        1901 L Street NW
                                                        Washington, DC 20036
                                                        (202) 282-5096
                                                        mkimberly@winston.com

                                                      Counsel for Plaintiff Alignment Healthcare,
                                                      Inc.




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        Case 1:25-cv-00074-CRC        Document 27       Filed 07/01/25       Page 8 of 19




                                   CERTIFICATE OF SERVICE

        Undersigned counsel certifies that a true and correct copy of this document was served

via CM/ECF on all counsel of record pursuant to the Federal Rules of Civil Procedure on June 30,

2025.

                                                   /s/ Michael B. Kimberly




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      Case 1:25-cv-00074-CRC           Document 27        Filed 07/01/25      Page 9 of 19




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 ALIGNMENT HEALTHCARE, INC.,

                        Plaintiff,

                        v.                         Case No. 25-cv-74 (CRC)

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                        Defendants.

                                            OPINION

       This is a dispute over star ratings issued by the Centers for Medicare and Medicaid

Services (“CMS”) to three Medicare Advantage plans offered by Plaintiff Alignment Healthcare,

Inc. Alignment challenges the star ratings on a variety of grounds under the Administrative

Procedure Act and has sought summary judgment on an expedited timeline. The Court will

largely deny its motion for summary judgment and grant summary judgment to the government.

The Court will, however, vacate Alignment’s 2025 star ratings as to plan H3443 because CMS’s

inclusion of two appeals in those ratings was arbitrary and capricious.

 I.    Background

       Given the expedited timeline for this decision, the Court writes primarily for the parties

and presumes that other readers are generally familiar with the relevant legal landscape. The

Court thus provides only a cursory overview of the background for this case.

       The Medicare Act establishes a five-star rating system for Medicare Advantage plans on

a scale of one to five stars. See 42 U.S.C. § 1395w-23(o)(4)(A). Alignment Healthcare provides

six Medicare Advantage plans and received its star ratings for 2025 last fall. It now challenges

the ratings issued to three of its plans, claiming that CMS’s methodology for calculating these




                                                                                                    9
       Case 1:25-cv-00074-CRC           Document 27        Filed 07/01/25      Page 10 of 19




ratings was flawed or underexplained. Alignment also asked, with the government’s consent, to

expedite this case so that any changes to its plans’ star ratings could be included in its bid

proposals for the 2026 plan year. See ECF 9. Following an accelerated summary-judgment

briefing schedule, the Court heard argument on the parties’ cross motions on June 3, 2025.

 II.     Standard of Review

         At summary judgment, the Court must determine whether the challenged agency action

complies with the APA and is supported by the administrative record. Richards v. INS, 554 F.2d

1173, 1177 (D.C. Cir. 1977). Under the APA, “[t]he reviewing court shall . . . hold unlawful and

set aside agency action, findings, and conclusions found to be arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law[.]” 5 U.S.C. § 706(2)(A). Arbitrary and

capricious review is “narrow,” Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402,

416 (1971), and precludes the Court from “substitut[ing] its judgment for that of the

agency,” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983). Rather, the Court must determine whether the agency “examine[d] the relevant data

and articulate[d] a satisfactory explanation for its action including a rational connection between

the facts found and the choice made.” Id. (internal quotation marks omitted). Even if the agency

did not fully explain its decision, the Court may uphold it “if the agency’s path may reasonably

be discerned.” Bowman Transp., Inc. v. Arkansas-Best Freight System, Inc., 419 U.S. 281, 286

(1974). The Court’s review is limited to the administrative record, Holy Land Found. for Relief

& Dev. v. Ashcroft, 333 F.3d 156, 160 (D.C. Cir. 2003), and the party challenging an agency’s

action bears the burden of proof, City of Olmsted Falls v. FAA, 292 F.3d 261, 271 (D.C. Cir.

2002).




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      Case 1:25-cv-00074-CRC          Document 27        Filed 07/01/25     Page 11 of 19




 III. Analysis

       Alignment raises seven objections to CMS’s calculations for its 2025 star ratings: (1)

CMS’s use of the Tukey Outlier Rule is arbitrary and capricious; (2) CMS arbitrarily included

low-reliability enrollee survey data; (3) CMS arbitrarily ignored survey data problems stemming

from Spanish-speaking plan participants allegedly receiving English-language surveys; (4)

CMS’s permitting of oversampling plan enrollees unfairly benefits large plans; (5) and (6) two

appeals were erroneously factored into CMS’s rating for Plan H3443; and (7) CMS’s reliance on

a private entity to handle appeals from plan coverage denials violates the private nondelegation

doctrine. The Court will reject the first four claims and grant summary judgment to Alignment

as to the two erroneously included appeals. The Court need not reach Alignment’s private non-

delegation claim.

       A. Tukey Outlier Rule

       The Court rejects Alignment’s claim that the Tukey Outlier Rule is arbitrary and

capricious. As CMS adequately explained, the Tukey Outlier Rule, which underwent notice and

comment in 2023, serves an important purpose: reducing statistical noise by identifying and

removing outlier data points from certain star-rating measures. See A.R. 104; 88 Fed. Reg.

22120, 22120 (April 12, 2023). Before adoption of the rule, CMS found that outliers could

“have undue influence on cut points” that CMS uses to divide plans by star-level, potentially

“lead[ing] to a single contract having a major influence on cut point values[.]” A.R. 104. To

address that problem, CMS adopted an accepted method for identifying outliers and removing

them. The natural consequence of removing outliers is some amount of compression in the

remaining dataset and therefore the cut points. But to the extent that such compression results,




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      Case 1:25-cv-00074-CRC            Document 27         Filed 07/01/25      Page 12 of 19




CMS adequately explained that it is appropriate because it more accurately reflects plan

performance among representative plans. Id.

       Alignment urges that the Tukey Outlier Rule should be limited to circumstances where

plans have a sufficiently large denominator of data points to obtain each of the five possible star

ratings. But CMS has justified why it rejected Alignment’s preferred approach. CMS explained

that the situation Alignment posits is relatively rare, as the Tukey Outlier Rule typically does not

result in significant changes to cut points. A.R. 103–04; see 88 Fed. Reg. at 22296. To the

extent it occurs, CMS adequately explained why compression of cut points is nonetheless

appropriate in light of the data reliability concerns the agency was trying to address. So in

CMS’s view, the relatively uncommon circumstance posited by Alignment did not outweigh the

benefits CMS saw in eliminating outliers from the underlying data.

       CMS’s adoption of the Tukey Outlier Rule was reasonable and reasonably explained.

The Court will not second-guess it and therefore grants summary judgment to the government

and denies it to Alignment on this issue.

       B. Low-Reliability Survey Data

       Next, the Court rejects Alignment’s challenge to CMS’s inclusion of low-reliability

survey-response data in composite star-rating measures. As CMS explained, the agency polices

statistical reliability at the measure level by not calculating a star rating for unreliable measures.

See 42 C.F.R. § 422.166(a)(3). Doing so ensures that plans get star ratings only for those

measures that reliably reflect plan performance.

       Alignment responds that CMS’s decision not to consider reliability at the survey-question

level is arbitrary because unreliable survey response data will necessarily produce an unreliable

composite measure. But as CMS points out, aggregating survey responses that measure or



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      Case 1:25-cv-00074-CRC           Document 27        Filed 07/01/25      Page 13 of 19




observe a similar subject can result in an overall measure that is more reliable than its constituent

parts. See Gov’t MSJ at 26–27; Health Servs. Advisory Grp., Frequently Asked Questions –

Contracts (Dec. 23, 2024), https://perma.cc/QLJ2-SXZ9. Here, CMS has designed the CAHPS

survey so as to include overlapping questions that can be aggregated to get a more reliable

picture of plan performance. For example, CMS asks multiple questions aimed at assessing the

timeliness of patient appointment scheduling and quality of doctor-patient communication. See

A.R. 399. Finally, CMS does not report question-level response data for composite measures

and uses such data only to inform the ratings it calculates for those measures, so CMS is not

disclosing unreliable information to plan enrollees. See Frequently Asked Questions –

Contracts, supra.

       C. Spanish Speakers

       The Court also finds that CMS reasonably addressed potential errors in survey

administration that may have caused Spanish-speaking enrollees in Plans H3443 and H3815 to

receive English-language surveys. To begin, Alignment has not shown that the survey was

administered erroneously. CMS survey procedures require that Spanish-language surveys be

“made available to all Spanish-speaking enrollees[.]” A.R. 172. Here, that requirement was

satisfied because, even if Spanish speakers received English-language surveys initially, they

would have been informed in Spanish, either on the survey itself or separately, that Spanish

versions were available upon request. A.R. 172–73; Rough Oral Arg. Tr. 36:18–38:25

(discussing alternative ways of notifying Spanish speakers that Spanish surveys were available);

see A.R. 403–50 (sample notification letters offering Spanish surveys). Alignment points to no

evidence in the record that the requirements were not followed here.




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      Case 1:25-cv-00074-CRC           Document 27       Filed 07/01/25      Page 14 of 19




       Nor did CMS arbitrarily ignore Alignment’s concerns. CMS responded first by ensuring

that DataStat, Alignment’s chosen (and CMS-approved) survey vendor, followed CMS protocols

when matching language-preference data to the samples that CMS drew from Alignment’s

enrollees. A.R. 53. CMS also verified that it sampled Alignment’s plans correctly and that the

samples were consistent with the broader population from which they were drawn. A.R. 48.

And it checked survey response patterns among predicted Spanish speakers and concluded that

they were in line with expected responses. A.R. 61–62. By undertaking this review, CMS took

Alignment’s concerns seriously and responded reasonably. Nothing more was required. See

Petal Gas Storage, LLC v. FERC, 496 F.3d 695, 703 (D.C. Cir. 2007) (An agency “is not

required to choose the best solution, only a reasonable one.”).

       D. Oversampling

       The Court rejects, for two independent reasons, Alignment’s as-applied challenge to

CMS’s policy of permitting large plans to oversample. First, Alignment’s claim, as presented in

its motion for summary judgment, is an impermissible attempt to amend its complaint by brief.

“It is well settled that a party cannot amend [its] complaint through motions briefing.” Sinha v.

Blinken, No. 20-cv-2814 (DLF), 2021 WL 4476749, at *3 (D.D.C. Sept. 30, 2021) (citing

Durand v. District of Columbia, 38 F. Supp. 3d 119, 129 (D.D.C. 2014)). Originally,

Alignment’s complaint alleged that permitting oversampling is “irrationally biased against

smaller plans with fewer enrollees” that cannot oversample and that the practice resulted in a

lower rating for Alignment’s H3815 plan. Compl. ¶¶ 153–54. Alignment’s complaint did not

raise this issue as to any of Alignment’s other plans. See id. But Plan H3815 is not a small one.

It has over 91,000 enrollees and was therefore eligible for oversampling, which Alignment chose

not to do. Perhaps realizing this contradiction, Alignment now argues that Plan H3815 was



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      Case 1:25-cv-00074-CRC            Document 27        Filed 07/01/25      Page 15 of 19




disadvantaged not because of its size, but because oversampling irrationally benefits plans that

choose to do it in a way that “does not indicate higher quality.” Alignment MSJ at 40. That

pivot in Alignment’s claim is a significant one and Alignment should have sought leave to

amend its complaint to make it. Having failed to do so, Alignment cannot now try to shoehorn a

new claim into this case.

       Second, and in any event, Alignment’s amended claim falls short on the merits.

Oversampling does not guarantee a higher rating, as taking a larger sample of plan enrollees can

confirm a poor rating as much as it can a strong one. To the extent it results in a higher star

rating for certain plans over plans that did not oversample, it does so by increasing the reliability

of the plan’s raw score. Alignment has not shown that it is irrational for HHS to award a higher

star rating to a plan with a more reliable raw score compared to a plan with a less reliable one.

       E. Appeals

       Finally, the Court agrees with Alignment that CMS failed to adequately explain why it

included adverse determinations in two coverage-denial appeals in Plan H3443’s star rating.

       First, CMS’s inclusion of Case 1-13226962526 is irrational. Agency action is arbitrary

and capricious where “there has been a clear error in judgment,” such as when the agency’s

rationale “is so implausible that it could not be ascribed to a difference in view or the product of

agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,

463 U.S. 29, 43 (1983). Here, Alignment erroneously (and belatedly) referred to Maximus an

appeal that Alignment had dismissed rather than denied on the merits. Maximus treated the

appeal as denied, however, and the belated referral therefore negatively affected Alignment’s star

rating. When Alignment objected, CMS declined to reverse the adverse finding on the grounds

that any mistake by Maximus was of Alignment’s own making. See A.R. 1 (“[Y]our contract



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      Case 1:25-cv-00074-CRC             Document 27      Filed 07/01/25      Page 16 of 19




failed to process this case appropriately[.]”). That rationale, however, makes little sense given

that the government has conceded that “CMS regulations and guidance make clear that plans

should not send dismissed requests to the Independent Review Entity.” Gov’t MSJ at 41. So

Alignment was not required to forward the dismissal to Maximus. If Alignment was not required

to forward the dismissal, then there was no deadline for it to do so. And it is therefore

impossible for Alignment to have forwarded the dismissal to Maximus “late.” That Alignment

nonetheless forwarded the dismissal does not create a deadline that never existed or change the

dismissal into a ruling on the merits.

       Second, CMS has abandoned the only reason it gave at the time for including an adverse

determination concerning Case 1-12757246876, an appeal about coordinating care, in

Alignment’s rating. CMS’s sole reason for including this appeal in Alignment’s star rating was

that Alignment failed to seek reopening of this decision before Maximus. A.R. 1. CMS did not

state that it agreed with Maximus’s substantive reasoning, or otherwise express any view on the

merits. See id. Before this Court, the government’s motion for summary judgment reiterated

that Alignment failed to seek reopening. Gov’t MSJ at 44. But Alignment then argued in its

reply brief that nothing in CMS’s regulations require a plan provider to seek reopening before

asking CMS to exclude a Maximus decision from its star rating. Alignment Reply at 25. The

government then did not respond to Alignment’s argument in its own reply brief or raise the

issue at oral argument. See Gov’t Reply at 23–24. In doing so, the government has abandoned

the only reason given by CMS for the action it took. See Queen v. Schultz, 310 F.R.D. 10, 22

(D.D.C. 2015) (holding that because the plaintiff’s reply failed to “make a reference” to an

argument in his opening brief, “the plaintiff has abandoned this argument[,] and the Court need

not consider it.”); Ctr. for Food Safety v. Salazar, 898 F. Supp. 2d 130, 152 n.2 (D.D.C. 2012)



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      Case 1:25-cv-00074-CRC           Document 27        Filed 07/01/25      Page 17 of 19




(“The Court, however, need not address [Plaintiffs’] argument [because] Plaintiffs’ Reply

appears to abandon [it.]”).

        “It is a foundational principle of administrative law that judicial review of agency action

is limited to the grounds that the agency invoked when it took the action.” Dep’t of Homeland

Sec. v. Regents of the Univ. of Calif., 591 U.S. 1, 20 (2020) (quotation marks omitted). Having

abandoned CMS’s only contemporaneous rationale for including this second appeal in

Alignment’s star rating, the government leaves the Court with “no explanation at all” for CMS’s

actions. CREW v. FEC, No. 22-cv-35 (CRC), 2025 WL 833075, at *4 (D.D.C. Mar. 17, 2025);

see State Farm, 463 U.S. at 50 (“[C]ourts may not accept appellate counsel’s post hoc

rationalizations for agency action.”). The Court therefore agrees with Alignment that CMS’s

inclusion of this second appeal in Plan H3443’s star rating was arbitrary and capricious for

failure to supply an adequate explanation. See State Farm, 463 U.S. at 43 (Courts “may not

supply a reasoned basis for the agency’s action that the agency itself has not given.”).1

       In light of the above, the Court expresses no view on Alignment’s claim that CMS’s use

of Maximus to handle appeals is unconstitutional under the private nondelegation doctrine. The

only appeals Alignment takes issue with are the two discussed above; it does not claim that any

other appeals were wrongly decided or should not have been adversely considered in its star

ratings. See Compl. ¶ 151 (seeking remand only as to Plan H3443 on private non-delegation

claim). Accordingly, the Court has no need to address this constitutional claim at this time. See

Camreta v. Greene, 563 U.S. 692, 705 (2011) (“[A] longstanding principle of judicial restraint



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         Alignment argues that this second appeal decision is not supported by substantial
evidence under 5 U.S.C. § 706(2)(E). That section, however, applies “only to formal
proceedings, not informal adjudications.” Phoenix Herpetological Soc’y, Inc. v. U.S. Fish &
Wildlife Serv., 998 F.3d 999, 1005 (D.C. Cir. 2021).


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      Case 1:25-cv-00074-CRC           Document 27       Filed 07/01/25      Page 18 of 19




requires that courts avoid reaching constitutional questions in advance of the necessity of

deciding them.” (quotation marks omitted)).

 IV. Conclusion

       For these reasons, the Court will grant in part and deny in part both parties’ motions for

summary judgment. The Court will remand to CMS for recalculation of Plan H3443’s star

ratings without the adverse determinations stemming from the two challenged appeals. A

separate Order follows.




                                                             CHRISTOPHER R. COOPER
                                                             United States District Judge

Date: June 9, 2025




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      Case 1:25-cv-00074-CRC              Document 27      Filed 07/01/25    Page 19 of 19




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 ALIGNMENT HEALTHCARE, INC.,

                          Plaintiff,

                          v.                          Case No. 25-cv-74 (CRC)

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                          Defendants.

                                                ORDER

          For the reasons stated in the accompanying Opinion, it is hereby

          ORDERED that [11] Plaintiff’s Motion for Summary Judgment is GRANTED IN

PART AND DENIED IN PART. It is further

          ORDERED that [13] Defendants’ Motion for Summary Judgment is GRANTED IN

PART AND DENIED IN PART. It is further

          ORDERED that the star ratings for Plan H3443 are vacated to the extent that they were

calculated using adverse determinations from Cases 1-13226962526 and 1-12757246876. It is

further

          ORDERED that this case be remanded to Defendants for recalculation of Plan H3443’s

star ratings in a manner consistent with this opinion.

          The Clerk is directed to close this case.

          SO ORDERED.



                                                              CHRISTOPHER R. COOPER
                                                              United States District Judge

Date: June 9, 2025




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